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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


EILEEN MASTERSON-CARR,
                                                          Civil Action No. ____________
                       Plaintiff,

                v.

DREXEL UNIVERSITY COLLEGE OF
MEDICINE,

                       Defendant.


                                    NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant Drexel University College of Medicine

(“Drexel”), by and through its undersigned counsel, files this Notice of Removal pursuant to

28 U.S.C. § 1441 et seq., and hereby removes the above-captioned civil action, originally filed in

the Court of Common Pleas of Philadelphia County, Pennsylvania to the United States District

Court for the Eastern District of Pennsylvania. In support of this Notice of Removal, Drexel

states as follows:

       1.       On or about May 21, 2019, Eileen Masterson-Carr (“Plaintiff”) filed a Complaint

against Drexel in the Court of Common Pleas of Philadelphia County, Pennsylvania, captioned

Eileen Masterson-Carr v. Drexel University College of Medicine, Civil Division No. 002157.

       2.       On May 23, 2019, counsel for Drexel agreed to accept service of the Complaint

via email effective June 10, 2019. In compliance with 28 U.S.C. § 1446(a) and Local Rule

4.02(b), true and correct copies of all the process, pleadings, orders, and other papers or
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exhibits of every kind on file in the Court of Common Pleas of Philadelphia County are attached

hereto as Exhibit A.

         3.       This removal is therefore timely under 28 U.S.C. § 1446(b), in that it is filed

within thirty (30) days of the date that Drexel received a copy of the Complaint, through service

of otherwise.

                                           JURISDICTION

         4.       The State Court Action is a civil action over which the Court has original

jurisdiction pursuant to 28 U.S.C. § 1441(a) because the matter involves a federal question. As

such the State Court action is one which may be removed to this Court pursuant to 28 U.S.C.

§ 1441(a) for the reasons set forth below.

         5.       In Count One of the Complaint, Plaintiff alleges that Drexel wrongfully

terminated Plaintiff’s employment in retaliation for taking leave under the Family and Medical

Leave Act, 29 U.S.C. § 2601 et seq. (“FMLA”). See Exhibit A ¶¶ 19-23.

         6.       In Count Two of the Complaint, Plaintiff alleges that Drexel terminated Plaintiff’s

employment in violation of Pennsylvania public policy. See Exhibit A ¶¶ 24-26.

         7.       Based on the allegations asserted in Plaintiff’s Complaint, this action is being

removed to this Court based upon federal question and supplemental jurisdiction.

         8.       The United States Code provides in pertinent part that the “district courts shall

have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of

the United States.” 28 U.S.C. § 1331. Moreover, “any civil action brought in a State court of

which the district courts of the United States have original jurisdiction, may be removed by the

defendant or defendants, to the district court of the United States for the district and division




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embracing the place where such action is pending.” 28 U.S.C. § 1441(a). Furthermore, “[a]ny

civil action of which the district courts have original jurisdiction founded on a claim or right

arising under the Constitution treaties or laws of the United States shall be removable without

regard to the citizenship or residence of the parties.” 28 U.S.C. § 1441(b).

         9.       Accordingly, this action is removable pursuant to 28 U.S.C. § 1441 and 28 U.S.C.

§ 1331, under this Court’s federal question jurisdiction. This Court may maintain jurisdiction

over Plaintiff’s remaining state law claim pursuant to the doctrine of supplemental jurisdiction.

United Mine Workers v. Gibbs, 383 U.S. 715, 726-27 (1966).

         10.      Additionally, because this is an action over which federal district courts have

original jurisdiction, and because Philadelphia County is embraced by the United States District

Court for the Eastern District of Pennsylvania, the action is properly removed to the United

States District Court for the Eastern District of Pennsylvania under 28 U.S.C. § 1441(a).

         11.      A true and correct copy of Defendant’s Notice of Removal of Civil Action is

attached hereto as Exhibit “B.” In compliance with 28 U.S.C. § 1446(d), a copy of this Notice

of Removal, with all attachments will be served upon Plaintiff’s counsel, and filed with the Clerk

for the Court of the Court of Common Pleas of Philadelphia County.

         12.      Nothing in this Notice shall be interpreted as a waiver of relinquishment of

Drexel’s right to assert any defense or affirmative matter, including, without limitation, a motion

to dismiss or any pre-answer motion under Federal Rule of Civil Procedure 12.

         WHEREFORE, Defendant Drexel University College of Medicine hereby respectfully

notifies this Court that it has removed this action, presently pending in the Court of Common




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Pleas of Philadelphia County, Pennsylvania to the United States District Court for the Eastern

District of Pennsylvania.



                                          BUCHANAN INGERSOLL & ROONEY PC

                                    By:    /s/ Charlene A. Barker Gedeus
                                          Joseph J. Centeno (PA ID No. 70902)
                                          Charlene A. Barker Gedeus (PA ID No. 317896)
                                          Two Liberty Place
                                          50 S. 16th Street, Suite 3200
                                          Philadelphia, PA 19102-2555
                                          Telephone: (215) 665-8700
                                          Facsimile: (215) 665-8760
                                          joseph.centeno@bipc.com
                                          charlene.gedeus@bipc.com

Dated: June 19, 2019                      Attorneys for Defendant Drexel University
                                          College of Medicine




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         Exhibit A
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          Exhibit B
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     IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY,
                        PENNSYLVANIA


EILEEN MASTERSON-CARR,              CIVIL DIVISION

                                    Case No. 2017-007323
          Plaintiff,

    v.                              NOTICE OF REMOVAL TO
                                    FEDERAL COURT
DREXEL UNIVERSITY COLLEGE OF
MEDICINE,                           FILED ON BEHALF OF DEFENDANT
                                    DREXEL UNIVERSITY COLLEGE OF
          Defendant.                MEDICINE

                                    Counsel of Record for this Party:

                                    Charlene A. Barker Gedeus, Esquire
                                    Pa. I.D. # 317896

                                    BUCHANAN INGERSOLL & ROONEY PC
                                    Two Liberty Place
                                    50 S. 16th Street, Suite 3200
                                    Philadelphia, PA 19102-2555
                                    (215) 665-8700 (Phone)
                                    (215) 665-8760 (Fax)
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IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA

EILEEN MASTERSON-CARR,                          :
                                                :                CIVIL DIVISION
                              Plaintiff,        :
                                                :               Case No. 2019-002157
       v.                                       :
                                                :
DREXEL UNIVERSITY COLLEGE OF                    :
MEDICINE.                                       :
                                                :
                              Defendant.

                     NOTICE OF REMOVAL TO FEDERAL COURT

       Please take notice that on the ___th day of June 2019, Defendant Drexel University

College of Medicine pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, filed with the Clerk of the

United States District Court for the Eastern District of Pennsylvania, a Notice of Removal, Civil

Action No. ___________ a copy of which is attached hereto and incorporated herein as Exhibit

A.

       Please take further notice that, pursuant to 28 U.S.C. § 1446, the filing of this Notice

effects the removal of this action to the United States District Court for the Eastern District of

Pennsylvania.

                                             Respectfully submitted,

                                             BUCHANAN INGERSOLL & ROONEY PC


                                             By:
                                                    Charlene A. Barker Gedeus (Pa. I.D. No.
                                                    3178960)
                                                    Two Liberty Place
                                                    50 S. 16th Street, Suite 3200
                                                    Philadelphia, PA 19102-2555
                                                    (215) 665-8700 (Phone)
                                                    (215) 665-8760 (Fax)
                                                    Attorneys for Defendant,
                                                    Drexel University College of Medicine.
Date: June ____, 2019
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Removal to

Federal Court was served upon the following counsel of record via e-mail and U.S. First-Class

Mail, postage pre-paid this ____th day of June 2019:



                                     Gerald R. Clarke, Esq.
                                      119 S. Easton Road
                                      Glenside, Pa 19038
                                     Attorney for Plaintiff




                                                       Charlene A. Barker Gedeus
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 19th day of June, 2019, I caused a true and correct copy of the

foregoing Notice of Removal to be filed by delivering a CD with its contents to the Clerk of the

U.S. District Court, and served via U.S. Mail First Class Mail and email on:

                                Gerald R. Clarke, Esquire
                                119 S. Easton Road, Suite 207
                                Glenside, PA 19038
                                Telephone: (215) 572-0530
                                Facsimile: (215) 884-4152
                                jclarke@clarkeandassoc.com

                                Attorneys for Plaintiff


                                                           /s/ Charlene A. Barker Gedeus
                                                          Charlene A. Barker Gedeus




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